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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS




IN RE: PHARMACEUTICAL INDUSTRY                               MDLNO.1456
AVERAGE WHOLESALE PRICE
LITIGATION


THIS DOCUMENT RELATES TO:                                    CIVIL ACTION: 01-CV-12257-PBS

ALL ACTIONS                                                  Judge Patti B. Saris


                                    AFFIDAVIT OF GOOD STANDING


            Jennifer Fountain Connolly, an attorney with the firm of Hagens Berman Sobol Shapiro,

LLP, 1629 K St. NW, Suite 300, Washington, DC 20006, hereby certifies:

             1.       I am a member of the Bar of the State of Colorado and the Bar of the State of

lllinois;

            2.        I am a member of the Bar in good standing in the jurisdictions in which I have

been admitted to practice;

            3.        There are no disciplinary proceedings pending against me as a member of the Bar

in any jurisdiction; and

            4.        I am familiar with the Local Rules of the United States District Court for the

District of Massachusetts.




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                                           fk,
             Under penalty of perjury thi~() day of May, 2010.

                                              Respectfully submitted,


                                                 y~:+------++--------
                                                 Jennifer Fou
                                                                        1.
                                              HAGENS BE          ANSOBOLSHAP~OLD
                                              1629 K St. NW, Suite 300
                                              Washington, DC 20006
                                              Telephone: (202) 355-6435
                                              Facsimile: (202) 355-6455




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was served upon the attorney of
                                                                                 20
record for each other party through the Court's electronic filing service on May _,2010.


                                                           lsi Thomas M. Sobol
                                                           Thomas M. Sobol




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